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                                CERTIFICATE OF SERVICE

       I, Donald E. Haviland, Jr., hereby certify that on March 17, 2011 true and correct copies

of the foregoing Notice to Attend was served on all counsel of record via CM/ECF notification.

       In addition, the following individuals were served via first class mail:

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                                                     _/s/__________________
                                                     Donald E. Haviland, Jr., Esq.
